Case 3:04-cr-30050-RGJ-KLH   Document 125   Filed 06/15/06   Page 1 of 6 PageID #:
                                     409
Case 3:04-cr-30050-RGJ-KLH   Document 125   Filed 06/15/06   Page 2 of 6 PageID #:
                                     410
Case 3:04-cr-30050-RGJ-KLH   Document 125   Filed 06/15/06   Page 3 of 6 PageID #:
                                     411
Case 3:04-cr-30050-RGJ-KLH   Document 125   Filed 06/15/06   Page 4 of 6 PageID #:
                                     412
Case 3:04-cr-30050-RGJ-KLH   Document 125   Filed 06/15/06   Page 5 of 6 PageID #:
                                     413
Case 3:04-cr-30050-RGJ-KLH   Document 125   Filed 06/15/06   Page 6 of 6 PageID #:
                                     414
